      Case 6:22-bk-11206-MH                      Doc      Filed 05/30/24 Entered 05/30/24 12:25:59                              Desc Main
 Fill in this information to identify the case:          Document     Page 1 of 7

 Debtor 1          Demion   Starr Lewis
                   __________________________________________________________________

 Debtor 2              Chaniqua   Renea Lewis
                       ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Central                California
                                         __________ District of __________

 Case number           6:22-bk-11206-MH
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: Nationstar Mortgage LLC
                   _______________________________________                                                       26
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          6 ____
                                                        ____ 0 ____
                                                                 6 ____
                                                                     8               Must be at least 21 days after date       7/1/2024
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                               2,404.53
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q No
      q Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                     903.77
                   Current escrow payment: $ _______________                       New escrow payment:                   956.10
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q No
      q Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:        _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q No
      q Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                              page 1
   Case 6:22-bk-11206-MH                          Doc        Filed 05/30/24 Entered 05/30/24 12:25:59                           Desc Main
                                                            Document     Page 2 of 7

Debtor 1         Demion     Starr      Lewis Last Name
                 _______________________________________________________                                  6:22-bk-11206-MH
                                                                                       Case number (if known) _____________________________________
                 First Name   Middle Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q I am the creditor.
     q I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û   _____________________________________________________________
     Signature
                                                                                       Date   5/9/2024
                                                                                              ___________________




 Print:            Joseph   C. Delmotte
                   _________________________________________________________           Title Authorized  Agent for Creditor
                                                                                             ___________________________
                    First Name                Middle Name       Last Name



 Company           Aldridge  Pite, LLP
                   _________________________________________________________



 Address           8880 Rio San Diego Drive, Suite 725
                   _________________________________________________________
                    Number           Street

                   San Diego                       CA      92108
                   ___________________________________________________
                    City                                        State       ZIP Code



 Contact phone     (858) 750-7600
                   ________________________                                                   pcn-ppfn.inquiries@mrcooper.com
                                                                                       Email ________________________




Official Form 410S1                                           Notice of Mortgage Payment Change                                           page 2
                                                                                                          CASE NUMBER
                                                                                                          2211206
       Case 6:22-bk-11206-MH                    Doc      Filed 05/30/24 Entered 05/30/24 12:25:59                             Desc Main
                                                        Document     Page 3 of 7       LOAN NUMBER
DEMION LEWIS
1488 E 8TH STREET
                                                                                                          PROPERTY ADDRESS
BEAUMONT,CA 92223
                                                                                                          1488 EAST 8TH STREET
                                                                                                          BEAUMONT, CA 92223




Dear DEMION LEWIS,

An escrow analysis was performed on the above referenced account.

Our records indicate your loan is currently in an active bankruptcy proceeding. The enclosed escrow account disclosure
statement is for informational purposes only and should not be construed as an attempt to collect a debt.

If you are represented by an attorney in your bankruptcy, please forward a copy of this letter to such attorney and provide such
attorney’s name, address and telephone number to us.

If you have any questions, please call our Bankruptcy Department at 877-343-5602. Our hours of operation are Monday through
Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at www.mrcooper.com for more information.

Sincerely,

Mr. Cooper

Enclosure




Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
Case 6:22-bk-11206-MH   Doc    Filed 05/30/24 Entered 05/30/24 12:25:59   Desc Main
                              Document     Page 4 of 7
                                                                                                    Tax/Insurance: 866-825-9267
        Case 6:22-bk-11206-MH                         Doc       Filed 05/30/24 Entered
                                                                                   Monday05/30/24     12:25:59
                                                                                          through Thursday             Desc
                                                                                                              from 8 a.m.       Main
                                                                                                                          to 9 p.m. (ET),
                                                               Document     Page 5 Friday
                                                                                   of 7 from 8 a.m. to 7 p.m. (ET) and Saturday from 9 a.m.
                                                                                                    to 3 p.m. (ET)
DEMION LEWIS
1488 E 8TH STREET                                                                                   Your Loan Number:
BEAUMONT,CA 92223                                                                                   Statement Date: 04/29/2024




        Why am I             Mr. Cooper completed an analysis of your escrow account to ensure that the account is funded correctly, determine any surplus or
   receiving this?           shortage, and adjust your monthly payment accordingly. Mr. Cooper may maintain an escrow cushion equal to two months'
                             estimated taxes and insurance (unless limited by your loan documents or state law). This measure helps to avoid negative balance
                             in the event of changing tax and insurance amounts.

   What does this            At this time, your Escrow Account has less money than needed and there is a shortage of $484.49. Due to this shortage and changes
    mean for me?             in your taxes and insurance premiums, your monthly escrow payment will increase by $11.96. Eﬀective 07/01/2024, your
                             new total monthly payment** will be $2,404.53.
                                                                          Current Monthly                                                           New Monthly
  Total Payment                                                                                            Payment Changes
                                                                                 Payment                                                                Payment
  PRINCIPAL AND INTEREST                                                          $1,448.43                                  $0.00                       $1,448.43
  ESCROW                                                                           $903.77                                  $11.96                         $915.73
  SHORTAGE SPREAD                                                                     $0.00                                 $40.37                          $40.37
  Total Payment                                                                 $2,352.20                                  $52.33                      $2,404.53
  See below for shortage calculation
 What is a Shortage? A shortage is the diﬀerence between the lowest projected balance of your account for the coming year and your minimum
 required balance. To prevent a negative balance, the total annual shortage is divided by 12 months and added to your monthly escrow payment, as shown
 below.


                    Minimum Required Balance                                                                      Lowest Projected Balance
                           $1,375.96                                                                                       $891.47


                                                                      $484.49 / 12 = $40.37
                                    Please see the Coming Year Projections table on the back for more details
  Escrow Payment                                                               Current Annual                                                 Anticipated Annual
                                                                                                                  Annual Change
  Breakdown                                                                     Disbursement                                                       Disbursement
  COUNTY TAX                                                                          $7,035.02                               $182.74                     $7,217.76
  FHAMIP INS                                                                          $2,869.20                             ($136.20)                    $2,733.00
  HAZARD SFR                                                                            $941.00                                $97.00                    $1,038.00
  Annual Total                                                                      $10,845.22                               $143.54                   $10,988.76
If you have questions about changes to your property taxes or homeowners’ insurance premiums, please contact your local taxing authority or insurance provider. For more
information about your loan, please sign in at www.mrcooper.com.




Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.
Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, or
recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy Code. If this account has been
discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to
collect a debt against you; however, the servicer/lender reserves the right to exercise the legal rights only against the property
securing the loan obligation, including the right to foreclose its lien under appropriate circumstances. Nothing in this communication
shall be construed as an attempt to collect against the borrower personally or an attempt to revive personal liability.
If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the loan)
that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an attempt to
collect a debt from you personally.




                                                    This Area Intentionally Left Blank
                                                    This statement is for informational purposes only.
● Previous deﬁciency/shortage not paid entirely        ● Tax refund received                                ● Premium refund received
         Case 6:22-bk-11206-MH                    Doc● NewFiled
                                                           tax escrow requirement paid
                                                                   05/30/24                     ● New insurance
                                                                                    Entered 05/30/24    12:25:59 escrow requirement
                                                                                                                          Desc Main paid
                                                        Document             Page 6 of 7        ● Force placed insurance premium paid
                                               Prior Year Account History and Coming Year Projections
This is a statement of the actual activity in your escrow account from 04/23 through 06/24. This statement itemizes your actual
escrow account transactions since your previous analysis statement or initial disclosure, and projects payments, disbursements, and
balances for the coming year. The projections from your previous escrow analysis are included with the actual payments and disbursements for the prior
year. By comparing the actual escrow payment with the previous projections listed, you can determine where a diﬀerence may have occurred. When applicable,
the letter 'E' beside an amount indicates that a payment or disbursement has not yet occurred but is estimated to occur as shown.
Projections are included to ensure suﬃcient funds are available to pay your taxes and/or insurance for the coming year.Under Federal
Law (RESPA), the lowest monthly balance in your escrow account should be no less than $1,375.96 or 1/6th of the total annual projected disbursement from
your escrow account, unless your mortgage documents or state law speciﬁes otherwise. Your projected estimated lowest account balance of $891.47 will be
reached in March 2025. When subtracted from your minimum required balance of $1,375.96, an Escrow Shortage results in the amount of $484.49. These
amounts are indicated with an arrow (<).
This escrow analysis is based on the assumption that all escrow advances made on your loan prior to your bankruptcy ﬁling date are included
in your bankruptcy plan and will be paid in the plan. This analysis considers insurance, taxes and other amounts that will come due after the
ﬁling of your bankruptcy case.

            Projected         Actual            Projected             Actual                       Description                  Projected          Actual
Month       Payment          Payment          Disbursement         Disbursement                                                  Balance          Balance
                                                                                                      Start                     $3,323.33       ($2,266.55)
 04/23         $0.00            $0.00                  $0.00              $239.10* *               FHAMIP INS                      $3,323.33      ($2,505.65)
 05/23         $0.00           $894.47                 $0.00              $233.50*  *              FHAMIP INS                      $3,323.33      ($1,844.68)
 05/23         $0.00         $4,279.14*                $0.00                 $0.00                  Esc deposit                    $3,323.33        $2,434.46
 06/23         $0.00           $894.47                 $0.00              $233.50*  *              FHAMIP INS                      $3,323.33        $3,095.43
 07/23        $903.77          $903.77               $239.10              $233.50*  *              FHAMIP INS                      $3,988.00        $3,765.70
 08/23        $903.77          $903.77               $239.10              $233.50*  *              FHAMIP INS                      $4,652.67        $4,435.97
 08/23         $0.00            $0.00                  $0.00            $1,038.00*  *              HAZARD SFR                      $4,652.67        $3,397.97
 09/23        $903.77          $903.77               $239.10              $233.50*  *              FHAMIP INS                       $5,317.34      $4,068.24
 09/23         $0.00            $0.00                $941.00                 $0.00                 HAZARD SFR                      $4,376.34       $4,068.24
 10/23        $903.77          $903.77               $239.10              $233.50*  *              FHAMIP INS                      $5,041.01        $4,738.51
 11/23        $903.77          $903.77              $3,517.51           $3,608.88*  *              COUNTY TAX                      $2,427.27        $2,033.40
 11/23         $0.00            $0.00                $239.10              $233.50*  *              FHAMIP INS                      $2,188.17        $1,799.90
 12/23        $903.77          $903.77               $239.10              $233.50*  *              FHAMIP INS                      $2,852.84        $2,470.17
 01/24        $903.77          $903.77               $239.10              $233.50*  *              FHAMIP INS                       $3,517.51       $3,140.44
 01/24         $0.00           $61.00*                 $0.00                 $0.00                  Intr on Esc                     $3,517.51       $3,201.44
 02/24        $903.77          $903.77               $239.10              $233.50*  *              FHAMIP INS                      $4,182.18        $3,871.71
 03/24        $903.77           $0.00               $3,517.51           $3,608.88*  *              COUNTY TAX                      $1,568.44         $262.83
 03/24         $0.00            $0.00                $239.10              $233.50*  *              FHAMIP INS                      $1,329.34           $29.33
 04/24        $903.77         $1,807.54              $239.10              $233.50*  *              FHAMIP INS                      $1,994.01        $1,603.37
 05/24        $903.77          $903.77               $239.10             $227.75*E *E              FHAMIP INS                      $2,658.68        $2,279.39
 06/24        $903.77          $903.77               $239.10             $227.75*E *E              FHAMIP INS                      $3,323.35        $2,955.41
 Total      $10,845.24      $16,974.32            $10,845.22            $11,752.36                    Total                       $3,323.35       $2,955.41
            Projected                           Projected                                                                         Current       Required
            Payment                           Disbursement                                         Description                    Balance        Balance
Month                                                                                                                                           Projected
                                                                                                      Start                      $2,955.41        $3,439.90
 07/24          $915.73                                $227.75                                     FHAMIP INS                      $3,643.39        $4,127.88
 08/24          $915.73                                $227.75                                     FHAMIP INS                      $4,331.37       $4,815.86
 09/24          $915.73                                $227.75                                     FHAMIP INS                      $5,019.35       $5,503.84
 09/24            $0.00                              $1,038.00                                     HAZARD SFR                      $3,981.35       $4,465.84
 10/24          $915.73                                $227.75                                     FHAMIP INS                      $4,669.33        $5,153.82
 11/24          $915.73                              $3,608.88                                     COUNTY TAX                      $1,976.18       $2,460.67
 11/24            $0.00                                $227.75                                     FHAMIP INS                      $1,748.43       $2,232.92
 12/24          $915.73                                $227.75                                     FHAMIP INS                      $2,436.41       $2,920.90
 01/25          $915.73                                $227.75                                     FHAMIP INS                      $3,124.39       $3,608.88
 02/25          $915.73                                $227.75                                     FHAMIP INS                      $3,812.37       $4,296.86
 03/25          $915.73                              $3,608.88                                     COUNTY TAX                      $1,119.22        $1,603.71
 03/25            $0.00                                $227.75                                     FHAMIP INS                        $891.47      $1,375.96<
 04/25          $915.73                                $227.75                                     FHAMIP INS                      $1,579.45       $2,063.94
 05/25          $915.73                                $227.75                                     FHAMIP INS                      $2,267.43        $2,751.92
 06/25          $915.73                                $227.75                                     FHAMIP INS                      $2,955.41       $3,439.90
 Total      $10,988.76                             $10,988.76                                         Total                       $2,955.41       $3,439.90

Bankruptcy Adjustment- The Prior Year Account History and Coming Year Projections section of the Annual Escrow Account Disclosure Statement may
contain a line item called "Bankruptcy Adjustment". This amount is a credit based upon the unpaid portion of the escrow funds listed on the proof of claim to
be paid through the Chapter 13 plan. The amount of the credit is calculated and applied to reach the minimum required balance for the escrow account as
allowed under the loan documents and applicable non-bankruptcy law. The credit may not represent the total outstanding amount of escrow funds owed in the
proof of claim but ensures that any escrow funds listed on the proof of claim to be paid through the plan will not be collected through the escrow shortage or
surplus listed in the Annual Escrow Account Disclosure Statement. In some instances, only a portion of the proof of or surplus listed in the Annual Escrow
Account Disclosure Statement. In some instances, only a portion of the proof of claim escrow funds are listed as a credit to reach the required minimum
account balance.
You will receive an Annual Escrow Account Disclosure Statement reﬂecting the actual disbursements at the end of the next escrow analysis cycle. However,
you should keep this statement for your own records for comparison. If a previous escrow analysis statement was sent to you by your previous servicer, please
refer to that statement for comparison purposes. If you have any questions, please call our Bankruptcy Department at 1-877-343-5602. Our hours of
operation are Monday through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at www.mrcooper.com for more information.

Note: Any disbursements listed after the date of this statement are assumed to be projected or estimated.
      Case 6:22-bk-11206-MH                     Doc       Filed 05/30/24 Entered 05/30/24 12:25:59                                Desc Main
                                                         Document     Page 7 of 7



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                               8880 Rio San Diego Drive, Suite 725 San Diego, CA 92108


A true and correct copy of the foregoing document entitled (specify): NOTICE OF MORTGAGE PAYMENT CHANGE will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 30, 2024                 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:

ATTORNEY FOR DEBTOR:
Benjamin Heston bhestonecf@gmail.com

TRUSTEE:
Rod Danielson (TR) notice-efile@rodan13.com

U.S. TRUSTEE:
United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                  May 30, 2024        , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

DEBTOR(S)
Demion Starr Lewis
Chaniqua Renea Lewis
1488 E. 8th Street
Beaumont, CA 92223

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 30, 2024        Melissa Gonzalez                                                           /s/ Melissa Gonzalez
 Date                            Printed Name                                                   Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
